Case: 1:25-cv-00347-MWM-SKB Doc #: 1-2 Filed: 05/23/25 Page: 1 of 3 PAGEID #: 58




  CIVIL COVER SHEET

  CIVIL COVER SHEET

  This is a civil cover sheet as required by the Clerk of Court for the United States District
  Court for the Southern District of Ohio.

  Plaintiff: Jeff Pyfrin

  Defendants: City of Hamilton, 0 hio; Eric Taylor; Brittney Geurin; Craig Bucheit; Trent
  Chenoweth; Scott Scrimizzi; Brian Harrison; Frost Brown Todd LLC; Shawn Fryman

  Basis of Jurisdiction: Federal Question (U.S. Constitution and 42 U.S.C. § 1983)

  Nature of Suit: 440 - Civil Rights: Other

  Origin: Original Proceeding

  Relief: Plaintiff seeks compensatory and punitive damages, declaratory and injunctive relief,
  and attorney's fees.

  Jury Demand: Yes

  Plaintiff Contact Information:

  Jeff Pyfrin
  21853 Raymond Rd
  Raymond, OH 43067
  (513) 315-0145
  jpyfrin@hotmail.com
                           Case: 1:25-cv-00347-MWM-SKB Doc #: 1-2 Filed: 05/23/25 Page: 2 of 3 PAGEID #: 59
 JS 44 (Rev. 03n4)                                                                                                             CIVIL COVER SHEET                                                                                          1 2 5 C 34 7
 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
 provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
 purpose of initiating the civil docket sheet. (SE/:' INSTIIUC11ONS ON NEXT PAGE OF THIS FORM.)




       (b) County of Residence of first Listed Plaintiff                                                                                                                                   County of Residence of first Listed Defendant
                                                         (J,:'(C/:'l'T IN U.S. l'I.AIN'/1FF CAS/:'S)                                                                                                                                      (IN U.S. PI.AIN'/1FF CASHS ON/, )')
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 II. BASIS OF JURISD ICTION (l'lnce o11 "X"111 O11e llox o 111yJ                                                                                                  III, CITIZENSHIP OF PRINCIPAL PARTIES (l'lncetm "X" in O11e Boxforl'ln1111,jf
                                                                                                                                                                                    (For Diversify Cases Only)                                                                         and One Box for Dcfe11da111)
0      t     U.S. Go\'em ment                                     ii?f3 Federal Question                                                                                                                                                          DEF                                                               PTF           DEF
                  PlaintifT                                     ~                 (U.S. Gm·emment Not a Party)                                                            Citizen ofll,is State                                             )f      I       Incorporated or Principal Pince
                                                                                                                                                                                                                                                              o f Business In This State
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0 2 U.S. Govcmmcnl                                               D 4 Diversity                                                                                            Citizen of Another Stntc                               O2           □ 2           Incorporated and Principal Place                        0             Os
                  Defendant                                                       (/11dica1c C'i1i=e11ship ofl'arlies in hem Ill)                                                                                                                             o f Business In Another State

                                                                                                                                                                          Citizen or Subject of a                                0    3       0       3     Fo reign Nation                                         0      6       0    6
                                                                                                                                                                            Foreign Country
    IV. NATURE OF SUIT (l'loce nn "X" 111 O11e 1Joxo111 ~                                                                                                                                                                            Click here for: Nature of Suit Code Deseri lions.
                   CONTRACT                                                           TORTS




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      110 Insurance                                                  PERSONA L IN.JURY     PERSONAL INJURY                                                                     625 0mg Related Seizure                                       422 Appeal 28 USC 158                                             375 False Claims Act
      120 Marine                                                    3 10 Airplane                                  O 365 Personal Injury -                                         of Propeny 2 1 use 88 1                                   423 Withdrawal                                                    376 Qui Tam (3 1 USC
      130 Miller Act                                                3 15 Airplane Product                                Product Liability                                     690 Other                                                         28 use 157                                                         3729(a))
      140 Negotiable Instrument                                           Liability                                O 367 Health Care/                                                                                                                     £NTELLECTUA L                                        400 State Reappon ionment
      I SO Reco,·ery of Overpayment                                 320 Assault, Libel &                                      Phannaccutical                                                                                         1=,.......aP....;R,;,.Oa..P;..Ea..R...:T.;..Y
                                                                                                                                                                                                                                                                              ,;.....;.R""l""G"'-H.. :T-"S_-+~ 410 Antitrust
          & E11forccmc111 o f Judgment                                    Slander                                             Personal Injury                                                                                                                                                                  430 Banks and Banking
0     15 1 Medicare Act                                             330 Federal Employers'                                    Product Liability                                                                                                                                                                450 Commerce
0     152 Recovery of Defaulted                                           Liability                                O      368 Asbestos Personal                                                                                                    835 Patent - Abbreviated                                    460 Deponation
           Student Loans                                            340 Marine                                                Injury Product                                                                                                                New Drug Application                               4 70 Racketeer Influenced and
           (Excludes Veterans)                                      34S Marine Product                                        Liability                                                                                                            840 Trademark                                                    Com1p10rganiza1ions
D     153 Recovery of Overpayment                                         Liability                                   PERSONAL PROPERTY                                                                                                           880 Defend Trade Secrets                                     480 Consumer Credit
          of Veteran's Benefit s                                    350 Motor Vehicle                              O 370 Other Fraud                                                                                                                        Act of 20l6                                             ( 15 USC 168 1 or 1692)
0     160 Stockholders' Suits                                       355 Motor Vehicle                              O 371 Tmth in Lending                                           Act                                                                                                                         485 Telephone Cousumcr
0     190 Other Contract                                                 Product Liability                         O 380 Other Personal                                        720 Labor/Management                                  1--s""o"'c=JA.,...,...L"'S"'E"'C'"'U"'R"'l"'T'"'Y..--r'                        Protection Act
0     195 Con tract Product Liability                               360 Other Personal                                   Propeny Damage                                            Relations                                                      861 H IA ( l 395fl)                                          490 Cable/Sat T V
0     196 Franchise                                                      Injury                                    O 385 Propen y Damage                                       740 Railway l. abor Act                                            862 Black Lung (923)                                         850 Securities/Commodities/
                                                                    362 Personal Injury -                                        Product Liability                             751 Family and Medical                                             863 D IWC/ DIW\V (405(g))                                         Exchange
                                                                        Medical Malpractice                                                                                        Leave Act                                                      864 SS ID Title XV I                                         890 Other Statulory Actions
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                                                                                                                                                                               · 1;;,O:..N;;;S'--iA 790 Other Labor Litigation                    865 RS I (405(g))                                            89 1 Agricultural Acts
      210 Land Condemnation                                         440 Other Civil Rights                               llabeas Corpus:                                       79 1 Employee Retirement                                                                                                        893 Environmental Mailers
      220 Foreclosure                                               44 1 Voting                                          463 Alien Dcrnince                                         Income Security Act                              l----::==,....,..,,...,,,..,...,-:-:,==--t-t 89S Freedom o f lnfonn alion
      230 Rent Lease & Ejectmcnt                                    442 Employment                                       5 10 Motions to Vacate                                                                                              870 Taxes (U.S. Plaintifl'                             Act
      240 Ton s to Land                                             443 Housing/                                             Sentence                                                                                                            or Defendant)                                 896 Arbitration
      245 Ton Product Liability                                         Accommodations                                   530 General                                                                                                         871 IRS- 11,ird Party                             899 Adm inistrarivc Procedure
0     290 All Other Real Propcny                                    445 Amer. w/Oisabilities -                           535 Death Penalty                                             IMMIGRA' 10                                                26 USC 7609                                      Act/Review or Appcnl of
                                                                        Employment                                       Olhcr:                                                462 Naturali,.11ion Application                                                                                     Agency Dec ision
                                                                    446 Amer. w/Oisabilities -                           540 Mandamus & Other                                  465 Other Immigration                                                                                           950 Constitutionality of
                                                                        Other                                            550 Civil Rights                                          Actions                                                                                                         State Statutes
                                                                    448 Education                                        555 Prison Cond ition
                                                                                                                         560 Civil Detainee -
                                                                                                                             Conditions of
                                                                                                                                 Confinement
V ORIGIN (l'lace a11 "X"i11 O11c/JuxO11lJj
           Original                       O 2         Removed from                               03              Remanded from                               0 4 Reinstated or 0 5 Transferred from 0 6 Multidistrict                                                                                  0 8 Multidistrict
           Proceeding                                 State Court                                                Appellate Court                                         Reopened                                    Another District                                Litigation -                                Litigation -
                                                                                                                                                                                                                     (specify)                                       Transfer                                    Direct File




Vil. REQUESTED IN    0 CHECK IF THIS IS A CLASS ACTION                                                                                                                         DEMAND S                                                               CHECK YES only ifdct
     COMPLAINT:         UNDER RULE 23, F.R.Cv.l'.                                                                                                                                                                                                     JURY DEMAND:
VIII. RELATED CASE(S)
                      (See im·rruc1io11.~):
      IF ANY
DATE


FOR OFFICE USE ONLY

     RECEI PT #
                                                        --
                                                        AMOUNT                                                                  APl' LYING IFI'                                                                 JUDGE                                                  MAG. JUDGE
              Case: 1:25-cv-00347-MWM-SKB Doc #: 1-2 Filed: 05/23/25 Page: 3 of 3 PAGEID #: 60
JS 44 Reverse (Rev. 03/24)

                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the infonnation contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This fonn, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the fonn as follows:

l.(a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
      only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
      the official, giving both name and title.
  (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
      time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
      condemnation cases, the county of residence of the "defendant" is the location of the tract ofland involved.)
  (c) Attorneys. Enter the finn name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
      in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict liti~ation transfers.
         Multidistrict Litigation-Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation - Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related cases, if any. If there are related cases, insert the docket
         numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
